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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-24431-CIV-ALTONAGA/Goodman

  GOLTV, INC., et al.,

         Plaintiffs,
  v.

  FOX SPORTS
  LATIN AMERICA LTD., et al.,

        Defendants.
  ___________________________/

                                                ORDER

         THIS CAUSE came before the Court at a May 16, 2018 hearing [ECF No. 388] on

  Defendants, Fox Sports Latin America, Ltd., Pan American Sports Enterprises Company, Fox

  International Channels (US) Inc., Fox Networks Group, Inc., and Torneos y Competencias S.A.’s

  Motion for Issuance of Letters Rogatory [ECF No. 368], filed April 30, 2018. On May 14, 2018,

  Plaintiffs, GolTV, Inc. and Global Sports Partners LLP, filed an Opposition to Certain Discovery

  [ECF No. 380], to which Defendants filed a Reply [ECF No. 383]. The Court has carefully

  considered the parties’ submissions, the record, and applicable law.

         For the reasons stated in open court, it is

         ORDERED AND ADJUDGED that Defendants’ Motion [ECF No. 368] is

  GRANTED.

         DONE AND ORDERED in Miami, Florida, this 16th day of May, 2018.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
